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               IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                         EL PASO DIVISION

BRANDON CALLIER,                       §
   Plaintiff,                          §
                                       §
v.                                     §                 EP-20-CV-266-PRM
                                       §
CAROLINA ROCHA,                        §
QUOTEFIRE.COM, and                     §
ALLSTATE CORPORATION,                  §
    Defendants.                        §
                                       §

                             FINAL JUDGMENT
     On this day, the Court dismissed the above-captioned cause. The Court

now enters Final Judgment pursuant to Rule 58 of the Federal Rules of Civil

Procedure.

     Accordingly, IT IS ORDERED that the above-captioned cause is

DISMISSED WITH PREJUDICE with each party to bear its own costs.

     IT IS FURTHER ORDERED that all settings in this matter are

VACATED.

     IT IS FURTHER ORDERED that all pending motions in this cause,

if any, are DENIED AS MOOT.

FINALLY, IT IS ORDERED that the Clerk shall CLOSE this case.

        SIGNED this 24th day of November, 2020.



                               PHILIP R. MARTINEZ
                               UNITED STATES DISTRICT JUDGE
